Case 2:20-cv-12734-MAG-EAS ECF No. 128-8, PageID.6278 Filed 08/02/23 Page 1 of 6
                           Case 2:20-cv-12734-MAG-EAS ECF No. 128-8, PageID.6279 Filed 08/02/23 Page 2 of 6


                   Check                                                  Not Return                          Same Day 2nd Day    Employee
       Tour        Out/In       UTC Time Stamp      Date       UTC Time Same Date Raw Time and Date Data      Duration Duration   Number
       S0000148249 Out           20,210,629,103,742 6/29/2021    10:37:42            443760.442847222222222                       01600
       S0000148249 In            20,210,630,155,619 6/30/2021    15:56:19      X     443770.664108796296296                       01600
       S0000148316 Out           20,210,701,102,319   7/1/2021   10:23:19            443780.432858796296296                       01600
       S0000148316 In            20,210,701,153,242   7/1/2021   15:32:42            443780.647708333333333     5:09:23           01600
       S0000148345 Out           20,210,702,102,400   7/2/2021   10:24:00            443790.433333333333333                       01600
       S0000148345 In            20,210,702,055,231   7/2/2021    5:52:31            443790.244803240740741                       01600
       S0000148414 Out           20,210,705,222,212   7/5/2021   22:22:12            443820.932083333333333                       01600
       S0000148414 In            20,210,706,173,031   7/6/2021   17:30:31      X     443830.729525462962963                       01600
       S0000148432 Out           20,210,707,102,028   7/7/2021   10:20:28            443840.43087962962963                        01600
       S0000148432 In            20,210,707,183,516   7/7/2021   18:35:16            443840.774490740740741     8:14:48           01600
       S0000148508 Out           20,210,708,102,332   7/8/2021   10:23:32            443850.433009259259259                       01600
       S0000148508 In            20,210,708,155,055   7/8/2021   15:50:55            443850.660358796296296     5:27:23           01600
       S0000148604 Out           20,210,712,103,435 7/12/2021    10:34:35            443890.44068287037037                        01600
       S0000148604 In            20,210,712,184,410 7/12/2021    18:44:10            443890.780671296296296     8:09:35           01600
       S0000148628 Out           20,210,713,102,847 7/13/2021    10:28:47            443900.436655092592593                       01600
       S0000148628 In            20,210,713,193,950 7/13/2021    19:39:50            443900.819328703703704     9:11:03           01600
       S0000148696 Out           20,210,714,102,634 7/14/2021    10:26:34            443910.435115740740741                       01600
       S0000148696 In            20,210,714,181,122 7/14/2021    18:11:22            443910.757893518518518     7:44:48           01600
       S0000148739 Out           20,210,715,101,634 7/15/2021    10:16:34            443920.428171296296296                       01600
       S0000148739 In            20,210,715,173,222 7/15/2021    17:32:22            443920.730810185185185     7:15:48           01600
       S0000148788 Out           20,210,716,102,319 7/16/2021    10:23:19            443930.432858796296296                       01600
       S0000148788 In            20,210,716,170,618 7/16/2021    17:06:18            443930.712708333333333     6:42:59           01600
       S0000148815 Out           20,210,719,101,521 7/19/2021    10:15:21            443960.427326388888889                       01600
       S0000148815 In            20,210,719,183,556 7/19/2021    18:35:56            443960.774953703703704     8:20:35           01600
       S0000148868 Out           20,210,720,102,729 7/20/2021    10:27:29            443970.435752314814815                       01600
       S0000148868 In            20,210,720,190,407 7/20/2021    19:04:07            443970.794525462962963     8:36:38           01600
       S0000148893 Out           20,210,721,101,945 7/21/2021    10:19:45            443980.430381944444444                       01600
       S0000148893 In            20,210,721,172,325 7/21/2021    17:23:25            443980.724594907407408     7:03:40           01600
       S0000148935 Out           20,210,722,100,804 7/22/2021    10:08:04            443990.422268518518518                       01600
       S0000148935 In            20,210,722,161,550 7/22/2021    16:15:50            443990.677662037037037     6:07:46           01600
       S0000149000 Out           20,210,723,101,250 7/23/2021    10:12:50            444000.425578703703704                       01600
       S0000149000 In            20,210,723,162,158 7/23/2021    16:21:58            444000.681921296296296     6:09:08           01600




Guy vs Absopure Water Company                                                                                                           ABS 003805
USDC Case No.: 20-cv-12734
                           Case 2:20-cv-12734-MAG-EAS ECF No. 128-8, PageID.6280 Filed 08/02/23 Page 3 of 6


                   Check                                                  Not Return                          Same Day 2nd Day    Employee
       Tour        Out/In       UTC Time Stamp      Date       UTC Time Same Date Raw Time and Date Data      Duration Duration   Number
       S0000149040 Out           20,210,726,101,027 7/26/2021    10:10:27            444030.423923611111111                       01600
       S0000149040 In            20,210,726,181,012 7/26/2021    18:10:12            444030.757083333333333     7:59:45           01600
       S0000149092 Out           20,210,727,103,145 7/27/2021    10:31:45            444040.438715277777778                       01600
       S0000149092 In            20,210,727,190,637 7/27/2021    19:06:37            444040.796261574074074     8:34:52           01600
       S0000149141 Out           20,210,728,102,000 7/28/2021    10:20:00            444050.430555555555556                       01600
       S0000149141 In            20,210,728,164,332 7/28/2021    16:43:32            444050.696898148148148     6:23:32           01600
       S0000149159 Out           20,210,729,102,648 7/29/2021    10:26:48            444060.435277777777778                       01600
       S0000149159 In            20,210,729,162,141 7/29/2021    16:21:41            444060.681724537037037     5:54:53           01600
       S0000149258 Out           20,210,802,102,433   8/2/2021   10:24:33            444100.433715277777778                       01600
       S0000149258 In            20,210,802,162,755   8/2/2021   16:27:55            444100.686053240740741     6:03:22           01600
       S0000149305 Out           20,210,803,103,407   8/3/2021   10:34:07            444110.440358796296296                       01600
       S0000149305 In            20,210,803,181,548   8/3/2021   18:15:48            444110.760972222222222     7:41:41           01600
       S0000149356 Out           20,210,804,101,657   8/4/2021   10:16:57            444120.4284375                               01600
       S0000149356 In            20,210,804,163,202   8/4/2021   16:32:02            444120.688912037037037     6:15:05           01600
       S0000149393 Out           20,210,805,102,102   8/5/2021   10:21:02            444130.431273148148148                       01600
       S0000149393 In            20,210,805,162,729   8/5/2021   16:27:29            444130.685752314814815     6:06:27           01600
       S0000149433 Out           20,210,806,102,421   8/6/2021   10:24:21            444140.433576388888889                       01600
       S0000149433 In            20,210,806,172,029   8/6/2021   17:20:29            444140.72255787037037      6:56:08           01600
       S0000149682 Out           20,210,816,102,533 8/16/2021    10:25:33            444240.434409722222222                       01600
       S0000149682 In            20,210,816,190,534 8/16/2021    19:05:34            444240.795532407407407     8:40:01           01600
       S0000149751 Out           20,210,817,104,021 8/17/2021    10:40:21            444250.4446875                               01600
       S0000149751 In            20,210,817,182,627 8/17/2021    18:26:27            444250.768368055555556     7:46:06           01600
       S0000149788 Out           20,210,818,102,016 8/18/2021    10:20:16            444260.430740740740741                       01600
       S0000149788 In            20,210,818,192,248 8/18/2021    19:22:48            444260.8075                9:02:32           01600
       S0000149817 Out           20,210,819,102,426 8/19/2021    10:24:26            444270.433634259259259                       01600
       S0000149817 In            20,210,819,171,909 8/19/2021    17:19:09            444270.721631944444444     6:54:43           01600
       S0000149880 Out           20,210,820,102,625 8/20/2021    10:26:25            444280.435011574074074                       01600
       S0000149880 In            20,210,820,164,528 8/20/2021    16:45:28            444280.698240740740741     6:19:03           01600
       S0000149902 Out           20,210,821,100,546 8/21/2021    10:05:46            444290.420671296296296                       01600
       S0000149902 In            20,210,821,145,812 8/21/2021    14:58:12            444290.62375               4:52:26           01600
       S0000149939 Out           20,210,823,102,400 8/23/2021    10:24:00            444310.433333333333333                       01600
       S0000149939 In            20,210,823,174,355 8/23/2021    17:43:55            444310.738831018518519     7:19:55           01600




Guy vs Absopure Water Company                                                                                                           ABS 003806
USDC Case No.: 20-cv-12734
                           Case 2:20-cv-12734-MAG-EAS ECF No. 128-8, PageID.6281 Filed 08/02/23 Page 4 of 6


                   Check                                                  Not Return                          Same Day 2nd Day    Employee
       Tour        Out/In       UTC Time Stamp      Date       UTC Time Same Date Raw Time and Date Data      Duration Duration   Number
       S0000149973 Out           20,210,824,102,251 8/24/2021    10:22:51            444320.432534722222222                       01600
       S0000149973 In            20,210,824,180,523 8/24/2021    18:05:23            444320.753738425925926     7:42:32           01600
       S0000150017 Out           20,210,825,102,050 8/25/2021    10:20:50            444330.431134259259259                       01600
       S0000150017 In            20,210,825,173,157 8/25/2021    17:31:57            444330.730520833333333     7:11:07           01600
       S0000150049 Out           20,210,826,104,108 8/26/2021    10:41:08            444340.445231481481482                       01600
       S0000150049 In            20,210,826,174,134 8/26/2021    17:41:34            444340.737199074074074     7:00:26           01600
       S0000150121 Out           20,210,827,102,054 8/27/2021    10:20:54            444350.431180555555556                       01600
       S0000150121 In            20,210,827,181,039 8/27/2021    18:10:39            444350.757395833333333     7:49:45           01600
       S0000150154 Out           20,210,828,101,238 8/28/2021    10:12:38            444360.425439814814815                       01600
       S0000150154 In            20,210,828,150,132 8/28/2021    15:01:32            444360.626064814814815     4:48:54           01600
       S0000150167 Out           20,210,830,102,344 8/30/2021    10:23:44            444380.433148148148148                       01600
       S0000150167 In            20,210,830,170,306 8/30/2021    17:03:06            444380.710486111111111     6:39:22           01600
       S0000150195 Out           20,210,831,101,301 8/31/2021    10:13:01            444390.425706018518518                       01600
       S0000150195 In            20,210,831,170,345 8/31/2021    17:03:45            444390.7109375             6:50:44           01600
       S0000150266 Out           20,210,901,101,443   9/1/2021   10:14:43            444400.426886574074074                       01600
       S0000150266 In            20,210,901,174,505   9/1/2021   17:45:05            444400.739641203703704     7:30:22           01600
       S0000150318 Out           20,210,902,101,252   9/2/2021   10:12:52            444410.425601851851852                       01600
       S0000150318 In            20,210,902,191,027   9/2/2021   19:10:27            444410.798923611111111     8:57:35           01600
       S0000150334 Out           20,210,902,165,248   9/2/2021   16:52:48            444410.703333333333333                       01600
       S0000150334 In            20,210,902,191,611   9/2/2021   19:16:11            444410.802905092592593     2:23:23           01600
       S0000150356 Out           20,210,903,100,946   9/3/2021   10:09:46            444420.423449074074074                       01600
       S0000150356 In            20,210,903,165,153   9/3/2021   16:51:53            444420.702696759259259     6:42:07           01600
       S0000150392 Out           20,210,907,102,441   9/7/2021   10:24:41            444460.43380787037037                        01600
       S0000150392 In            20,210,907,191,718   9/7/2021   19:17:18            444460.803680555555556     8:52:37           01600
       S0000150444 Out           20,210,908,101,718   9/8/2021   10:17:18            444470.428680555555556                       01600
       S0000150444 In            20,210,908,182,320   9/8/2021   18:23:20            444470.766203703703704     8:06:02           01600
       S0000150485 Out           20,210,909,101,554   9/9/2021   10:15:54            444480.427708333333333                       01600
       S0000150485 In            20,210,909,173,237   9/9/2021   17:32:37            444480.730983796296296     7:16:43           01600
       S0000150550 Out           20,210,910,102,007 9/10/2021    10:20:07            444490.430636574074074                       01600
       S0000150550 In            20,210,910,172,402 9/10/2021    17:24:02            444490.725023148148148     7:03:55           01600
       S0000150618 Out           20,210,913,102,625 9/13/2021    10:26:25            444520.435011574074074                       01600
       S0000150618 In            20,210,913,190,718 9/13/2021    19:07:18            444520.796736111111111     8:40:53           01600




Guy vs Absopure Water Company                                                                                                           ABS 003807
USDC Case No.: 20-cv-12734
                           Case 2:20-cv-12734-MAG-EAS ECF No. 128-8, PageID.6282 Filed 08/02/23 Page 5 of 6


                   Check                                                 Not Return                          Same Day 2nd Day    Employee
       Tour        Out/In       UTC Time Stamp     Date       UTC Time Same Date Raw Time and Date Data      Duration Duration   Number
       S0000150658 Out           20,210,914,104,043 9/14/2021   10:40:43            444530.44494212962963                        01600
       S0000150658 In            20,210,914,184,552 9/14/2021   18:45:52            444530.781851851851852     8:05:09           01600
       S0000150710 Out           20,210,915,102,909 9/15/2021   10:29:09            444540.436909722222222                       01600
       S0000150710 In            20,210,915,193,211 9/15/2021   19:32:11            444540.814016203703704     9:03:02           01600
       S0000150753 Out           20,210,916,100,128 9/16/2021   10:01:28            444550.417685185185185                       01600
       S0000150753 In            20,210,916,193,739 9/16/2021   19:37:39            444550.8178125             9:36:11           01600
       S0000150784 Out           20,210,917,101,346 9/17/2021   10:13:46            444560.426226851851852                       01600
       S0000150784 In            20,210,917,174,031 9/17/2021   17:40:31            444560.736469907407407     7:26:45           01600
       S0000150853 Out           20,210,920,103,410 9/20/2021   10:34:10            444590.440393518518519                       01600
       S0000150853 In            20,210,920,182,649 9/20/2021   18:26:49            444590.768622685185185     7:52:39           01600
       S0000150885 Out           20,210,921,103,231 9/21/2021   10:32:31            444600.439247685185185                       01600
       S0000150885 In            20,210,921,182,615 9/21/2021   18:26:15            444600.768229166666667     7:53:44           01600
       S0000150935 Out           20,210,922,103,142 9/22/2021   10:31:42            444610.438680555555556                       01600
       S0000150935 In            20,210,922,173,233 9/22/2021   17:32:33            444610.7309375             7:00:51           01600
       S0000150973 Out           20,210,923,102,309 9/23/2021   10:23:09            444620.432743055555556                       01600
       S0000150973 In            20,210,923,162,524 9/23/2021   16:25:24            444620.684305555555556     6:02:15           01600
       S0000151007 Out           20,210,924,104,317 9/24/2021   10:43:17            444630.446724537037037                       01600
       S0000151007 In            20,210,924,173,701 9/24/2021   17:37:01            444630.734039351851852     6:53:44           01600
       S0000151075 Out           20,210,927,103,109 9/27/2021   10:31:09            444660.438298611111111                       01600
       S0000151075 In            20,210,927,175,057 9/27/2021   17:50:57            444660.743715277777778     7:19:48           01600
       S0000151103 Out           20,210,928,103,557 9/28/2021   10:35:57            444670.441631944444444                       01600
       S0000151103 In            20,210,928,175,142 9/28/2021   17:51:42            444670.744236111111111     7:15:45           01600
       S0000151170 Out           20,210,929,103,211 9/29/2021   10:32:11            444680.439016203703704                       01600
       S0000151170 In            20,210,929,174,823 9/29/2021   17:48:23            444680.74193287037037      7:16:12           01600
       S0000151213 Out           20,210,930,103,113 9/30/2021   10:31:13            444690.438344907407407                       01600
       S0000151213 In            20,210,930,171,233 9/30/2021   17:12:33            444690.717048611111111     6:41:20           01600
       S0000151255 Out           20,211,001,102,507 10/1/2021   10:25:07            444700.434108796296296                       01600
       S0000151255 In            20,211,001,170,504 10/1/2021   17:05:04            444700.711851851851852     6:39:57           01600
       S0000151306 Out           20,211,004,101,814 10/4/2021   10:18:14            444730.429328703703704                       01600
       S0000151306 In            20,211,004,171,947 10/4/2021   17:19:47            444730.722071759259259     7:01:33           01600
       S0000151361 Out           20,211,005,102,828 10/5/2021   10:28:28            444740.436435185185185                       01600
       S0000151361 In            20,211,005,182,902 10/5/2021   18:29:02            444740.770162037037037     8:00:34           01600




Guy vs Absopure Water Company                                                                                                          ABS 003808
USDC Case No.: 20-cv-12734
                           Case 2:20-cv-12734-MAG-EAS ECF No. 128-8, PageID.6283 Filed 08/02/23 Page 6 of 6


                   Check                                                  Not Return                          Same Day 2nd Day    Employee
       Tour        Out/In       UTC Time Stamp      Date       UTC Time Same Date Raw Time and Date Data      Duration Duration   Number
       S0000151394 Out           20,211,006,104,104 10/6/2021    10:41:04            444750.445185185185185                       01600
       S0000151394 In            20,211,006,182,847 10/6/2021    18:28:47            444750.769988425925926     7:47:43           01600
       S0000151435 Out           20,211,007,102,401 10/7/2021    10:24:01            444760.433344907407407                       01600
       S0000151435 In            20,211,007,174,730 10/7/2021    17:47:30            444760.741319444444445     7:23:29           01600
       S0000151472 Out           20,211,008,100,114 10/8/2021    10:01:14            444770.417523148148148                       01600
       S0000151472 In            20,211,008,175,321 10/8/2021    17:53:21            444770.745381944444444     7:52:07           01600
       S0000151547 Out           20,211,011,102,524 10/11/2021   10:25:24            444800.434305555555556                       01600
       S0000151547 In            20,211,011,180,204 10/11/2021   18:02:04            444800.751435185185185     7:36:40           01600
       S0000151585 Out           20,211,012,104,735 10/12/2021   10:47:35            444810.449710648148148                       01600
       S0000151585 In            20,211,012,181,922 10/12/2021   18:19:22            444810.763449074074074     7:31:47           01600
       S0000151627 Out           20,211,013,101,818 10/13/2021   10:18:18            444820.429375                                01600
       S0000151627 In            20,211,013,172,518 10/13/2021   17:25:18            444820.725902777777778     7:07:00           01600
       S0000151661 Out           20,211,014,102,613 10/14/2021   10:26:13            444830.434872685185185                       01600
       S0000151661 In            20,211,014,161,813 10/14/2021   16:18:13            444830.67931712962963      5:52:00           01600
       S0000151704 Out           20,211,015,101,914 10/15/2021   10:19:14            444840.430023148148148                       01600
       S0000151704 In            20,211,015,162,144 10/15/2021   16:21:44            444840.681759259259259     6:02:30           01600
       S0000151756 Out           20,211,016,100,002 10/16/2021   10:00:02            444850.416689814814815                       01600
       S0000151756 In            20,211,016,153,149 10/16/2021   15:31:49            444850.647094907407407     5:31:47           01600
       S0000151790 Out           20,211,018,102,548 10/18/2021   10:25:48            444870.434583333333333                       01600
       S0000151790 In            20,211,018,184,551 10/18/2021   18:45:51            444870.781840277777778     8:20:03           01600
       S0000151816 Out           20,211,019,101,818 10/19/2021   10:18:18            444880.429375                                01600
       S0000151816 In            20,211,019,174,012 10/19/2021   17:40:12            444880.73625               7:21:54           01600
       S0000151883 Out           20,211,020,102,646 10/20/2021   10:26:46            444890.43525462962963                        01600
       S0000151883 In            20,211,020,170,756 10/20/2021   17:07:56            444890.713842592592593     6:41:10           01600
       S0000151931 Out           20,211,021,102,816 10/21/2021   10:28:16            444900.436296296296296                       01600
       S0000151931 In            20,211,021,155,900 10/21/2021   15:59:00            444900.665972222222222     5:30:44           01600
       S0000151949 Out           20,211,022,104,210 10/22/2021   10:42:10            444910.445949074074074                       01600
       S0000151949 In            20,211,022,162,509 10/22/2021   16:25:09            444910.684131944444444     5:42:59           01600
       S0000152026 Out           20,211,025,101,930 10/25/2021   10:19:30            444940.430208333333333                       01600
       S0000152026 In            20,211,025,180,321 10/25/2021   18:03:21            444940.752326388888889     7:43:51           01600
       S0000152072 Out           20,211,026,102,802 10/26/2021   10:28:02            444950.436134259259259                       01600
       S0000152072 In            20,211,026,180,715 10/26/2021   18:07:15            444950.755034722222222     7:39:13           01600




Guy vs Absopure Water Company                                                                                                           ABS 003809
USDC Case No.: 20-cv-12734
